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16 Attorneys for Defendants
17                                UNITED STATES DISTRICT COURT
18                              NORTHERN DISTRICT OF CALIFORNIA
19
20    LOUIS BERYL,                                           Case No.: 3:20-cv-05920-LB
21                            Plaintiff,                     JOINT PROPOSED PRETRIAL ORDER
22                    vs.                                    Date:         October 24, 2022
                                                             Time:         9:00 a.m.
23    NAVIENT CORPORATION, NAVIENT
      SOLUTIONS, LLC, EARNEST, LLC, and the
24    NAVIENT CORPORATION EXECUTIVE
      SEVERANCE PLAN FOR SENIOR
25    OFFICERS EFFECTIVE MAY 1, 2014
26                            Defendants.
27
28

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 1          Plaintiff Louis Beryl and Defendants Navient Corporation, Navient Solutions, LLC,

 2 Earnest, LLC and Navient Corporation Executive Severance Plan for Senior Officers, hereby
 3 submit their Joint Proposed Pretrial Order:
 4          (a) A Brief Description of the Claims and Defenses to be Decided

 5          Mr. Beryl co-founded an online lender called Earnest, Inc. Earnest, Inc. was acquired by

 6 Navient Corporation in 2017. After the acquisition, Mr. Beryl was employed as the Chief
 7 Executive Officer of a new entity called Earnest LLC. Mr. Beryl was employed pursuant to an
 8 employment agreement dated October 4, 2017 (“Employment Agreement”). Defendants
 9 terminated Mr. Beryl’s employment on January 24, 2018.
10          In his Complaint, Mr. Beryl asserts claims for severance pursuant to ERISA Section

11 502(a)(1)(B) [Count One], for Breach of Fiduciary Duties pursuant to ERISA Section 502(a)(3)
12 [Count Two], for Breach of Contract [Count Three], for violation of California Labor Code
13 Section 204 [Count Four], for penalties pursuant to California Labor Code Section 203 [Count
14 Five], and for estoppel [Count Six]. In support of his claims, Mr. Beryl asserts that Navient Corp.
15 did not have cause to terminate his employment as that term is defined by the Navient Corporation
16 Executive Severance Plan for Senior Officers (“the Severance Plan”). Mr. Beryl further asserts,
17 therefore, that he is entitled to collect severance benefits per the terms of the Plan and that he is
18 entitled to additional severance benefits per the terms of the offer letter / employment agreement
19 between him and Navient Corp. dated October 4, 2017.
20          Defendants assert that they had cause to terminate Mr. Beryl’s employment and that, as a

21 result, he is not entitled to benefits under the terms of the Severance Plan or to the other
22 benefits/compensation identified in his October 4, 2017 Offer Letter. Defendants also assert that
23 Mr. Beryl’s Count 2 under ERISA section 502(a)(3), 29 U.S.C. § 1132(a)(3), is duplicative of his
24 Count 1 in that he is seeking the payment of benefits instead of “other appropriate equitable
25 relief,” and that his purported Count 2, therefore, fails as a matter of law. Finally, Defendants
26 assert that Mr. Beryl’s Statement of the Relief Sought is improperly inflated because: (1) Navient
27 Corp. and Mr. Beryl did not reach agreement to change his compensation at any time; (2) Mr.
28 Beryl is miscalculating his benefits under the terms of the Severance Plan; and (3) Mr. Beryl is


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 1 misreading and misapplying the terms of the Earnest Long-Term Incentive Plan regarding the
 2 granting and vesting of Performance Cash Units.
 3          (b) A Statement of the Relief Sought

 4          Mr. Beryl seeks the following relief:

 5          1.     Mr. Beryl seeks payment to him of severance benefits under the Navient
                   Corporation Executive Severance Plan For Senior Officers in the amount of
 6                 $887,500.00;
 7          2.     Mr. Beryl seeks payment to him of the Supplemental Severance Benefit owed to
                   him pursuant to his Employment Agreement in the amount of $300,000;
 8
            3.     Mr. Beryl seeks payment to him for the value of the Restricted Stock Units
 9                 promised to him in his employment agreement and subsequent to the employment
                   agreement in the amount of $1,000,000.00;
10
            4.     Mr. Beryl seeks payment to him for the value of the Performance Cash Units
11                 promised to him in his employment agreement in the amount of $1,400,000.00;
12          5.     Mr. Beryl seeks payment to him of the value of 24 months of medical, dental, and
                   vision insurance as promised to him in his employment agreement in the amount of
13                 $72,000.00; and
14          6.     Mr. Beryl seeks attorneys’ fees, penalties, interest, and costs.
15          (c)    All Stipulated, Undisputed Facts
16          The Parties stipulate to, and do not dispute, the following facts:

17          1.     In 2013, Mr. Beryl co-founded an online student lending company called Earnest,

18 Inc.
19          2.     In November 2017, Navient Corp. acquired Earnest, Inc. for approximately $155

20 million in cash.
21          3.     Navient Solutions LLC services and collects existing private and federal student

22 loans.
23          4.     Navient Corp. formed Earnest LLC (“Earnest LLC”), which is located in San

24 Francisco.
25          5.     Navient Corp. entered into a written employment agreement with Mr. Beryl

26 (“Employment Agreement”) on October 4, 2017. The Employment Agreement is Trial Exhibit 1.
27          6.     The Employment Agreement provided that Mr. Beryl would have the corporate

28 title of Senior Vice President of Navient Solutions, LLC (“NSL”) and the CEO of Earnest LLC.


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 1          7.     The Employment Agreement provided that Mr. Beryl would “report to Tim Hynes

 2 [“Hynes”], Navient’s Executive Vice President, Consumer Lending.”
 3          8.     The Employment Agreement provided that Mr. Beryl would be paid a base salary

 4 at the rate of $300,000 per year.
 5          9.     The Employment Agreement provided that Mr. Beryl would “receive an equity

 6 grant of restricted stock units [“RSUs”] with a grant value of $125,000. The award will be granted
 7 within two weeks of the Closing date—provided that you remain employed by Earnest, Navient or
 8 any Navient-affiliated company through the grant date—and will be based upon the closing
 9 market price of Navient common stock (NAVI) on the grant date.”
10          10.    The Employment Agreement provided that Mr. Beryl would be “eligible to

11 participate in the Navient Corporation Executive Severance Plan for Senior Officers (the
12 “Severance Plan”). The Severance Plan is Trial Exhibit 17.
13          11.    The Severance Plan is governed by ERISA.

14          12.    The Severance Plan provides, in part, that upon termination “without cause”, “an

15 Eligible Officer will be entitled to receive a severance payment (“Severance Payment”) and
16 continuation of medical, dental and vision insurance benefits and outplacement services, all as
17 provided herein . . .”
18          13.    Mr. Beryl was an “Eligible Officer” per the terms of the Severance Plan.

19          14.    The Severance Plan entitled Mr. Beryl to certain severance payments if Navient

20 Corp. decided to terminate his employment “without cause.”
21          15.    The Severance Plan defines “For Cause” as follows:

22                 2.04. “For Cause” means a determination by the Committee (as defined herein) that
                   there has been a willful and continuing failure of an Eligible Officer to perform
23                 substantially his duties and responsibilities (other than as a result of Eligible
                   Officer’s death or Disability) and, if in the judgement of the Committee such
24                 willful and continuing failure may be cured by an Eligible Officer, that such failure
                   has not been cured by an Eligible Officer within ten (10) business days after written
25                 notice of such was given to Eligible Officer by the Committee, or that Eligible
                   Officer has committed an act of Misconduct (as defined below). For purposes of
26                 this Plan, “Misconduct” means: (a) embezzlement, fraud, conviction of a felony
                   crime, pleading guilty or nolo contendere to a felony crime, or breach of fiduciary
27                 duty or deliberate disregard of the Corporation’s Code of Business Code; (b)
                   personal dishonesty of Eligible Officer materially injurious to the Corporation; (c)
28                 an unauthorized disclosure of any Proprietary Information; or (d) competing with
                   the Corporation while employed by the Corporation or during the Restricted

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                     Period, in contravention of the non-competition and non-solicitation agreements
 1                   substantially in the form provided in Exhibit C upon termination of employment.
 2          16.      The Severance Plan further provided that, if Mr. Beryl were to be terminated

 3 without cause, he would also be entitled to continue to participate in any medical, dental and
 4 vision insurance plans generally available to the senior management of the Corporation “[f]or
 5 eighteen (18) months (or twenty-four (24) months if the Eligible Officer is the Chief Executive
 6 Officer) following the Eligible Officer’s Termination Date, the Eligible Officer and his or her
 7 eligible dependents or survivors …”. (§ 3.02(c).).
 8          17.      The Employment Agreement provided that, if Mr. Beryl were terminated without

 9 cause, he would receive a “Supplemental Severance Benefit” in the amount of $300,000.00.
10          18.      The Employment Agreement further promised Mr. Beryl that he would participate

11 in the Earnest Long-Term Incentive Plan (“Earnest LTI Plan”).
12          19.      Navient Corp. terminated Mr. Beryl’s employment on January 24, 2018.

13          20.      When Navient Corp. informed Mr. Beryl of the termination of his employment, it

14 told him that he would not receive severance benefits because Navient Corp. believed that it had
15 cause to terminate Mr. Beryl’s employment.
16          21.      Mr. Beryl made a claim for benefits pursuant to the Severance Plan on March 13,

17 2018.
18          22.      Navient Corp. denied Mr. Beryl’s claim for benefits under the Severance Plan on

19 June 7, 2018.
20          (d)      All Disputed Fact Issues To Be Tried

21               Count One - Claims for severance pursuant to ERISA Section 502(a)(1)(B)

22          1.       Mr. Beryl’s contention that, after execution of the Employment Agreement,

23 Mr. Beryl and Navient Corp. agreed that Mr. Beryl’s base salary would be increased to $400,000
24 per year.
25          2.       Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Agreement

26 and Plan of Merger by and among E Parent, Inc.; Elephant Merger Sub, Inc.; Navient Corporation;
27 Earnest Inc.; and Shareholder Representative Services LLC.
28          3.       Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Earnest LLC


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 1 Limited Liability Company Agreement.
 2          4.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of his October 4,

 3 2017, Offer Letter.
 4          5.      Navient Corp.’s contention that Mr. Beryl spent significant time, including the time

 5 of others, and resources attempting to negotiate his personal compensation and the financial
 6 targets established for Earnest LLC.
 7          6.      Navient Corp.’s contention that Mr. Beryl repeatedly missed deadlines for

 8 providing a detailed 2018 business plan for Earnest LLC.
 9          7.      Navient Corp.’s contention that the proposed 2018 business plans for Earnest LLC

10 that Mr. Beryl submitted in December 2018 contained targets for the company that were
11 materially different from the targets previously agreed to as part of the acquisition of Earnest Inc.
12 by Navient Corp.
13          8.      Navient Corp.’s contention that, as of January 24, 2018, Mr. Beryl had not

14 provided a detailed 2018 business plan for Earnest LLC.
15          9.      Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

16 constituted a willful and continuing failure to substantially perform his duties and responsibilities
17 as Chief Executive Officer of Earnest LLC and that such actions were not curable.
18          10.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

19 constituted misconduct under the terms of the Severance Plan.
20          11.     Navient Corp.’s contention that it had cause to terminate Mr. Beryl’s employment

21 as the phrase “for cause” is defined by the Parties’ agreements.
22          12.     Navient Corp.’s contention that surveys and interviews of Earnest LLC’s

23 employees indicated dissatisfaction, disengagement and a lack of confidence in Mr. Beryl’s
24 leadership.
25          13.     Mr. Beryl’s contention that he appealed the Severance Plan’s denial of his claim on

26 August 3, 2018.
27          14.     Mr. Beryl’s contention that Navient Corp. and the Severance Plan never responded

28 to Mr. Beryl’s appeal of the decision to deny him benefits under the Severance Plan.


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 1          15.     Navient Corp.’s contention that Mr. Beryl’s Statement of Relief Sought

 2 miscalculates the benefits to which he would be entitled under the Severance Plan if he were to
 3 prevail on this claim.
 4           Count Two - Breach of Fiduciary Duties pursuant to ERISA Section 502(a)(3)

 5          1.      Mr. Beryl’s contention that, after execution of the Employment Agreement,

 6 Mr. Beryl and Navient Corp. agreed that Mr. Beryl’s base salary would be increased to $400,000
 7 per year.
 8          2.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Agreement

 9 and Plan of Merger by and among E Parent, Inc.; Elephant Merger Sub, Inc.; Navient Corporation;
10 Earnest Inc.; and Shareholder Representative Services LLC.
11          3.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Earnest LLC

12 Limited Liability Company Agreement.
13          4.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of his October 4,

14 2017, Offer Letter.
15          5.      Navient Corp.’s contention that Mr. Beryl spent significant time, including the time

16 of others, and resources attempting to negotiate his personal compensation and the financial
17 targets established for Earnest LLC.
18          6.      Navient Corp.’s contention that Mr. Beryl repeatedly missed deadlines for

19 providing a detailed 2018 business plan for Earnest LLC.
20          7.      Navient Corp.’s contention that the proposed 2018 business plans for Earnest LLC

21 that Mr. Beryl submitted in December 2018 contained targets for the company that were
22 materially different from the targets previously agreed to as part of the acquisition of Earnest Inc.
23 by Navient Corp.
24          8.      Navient Corp.’s contention that, as of January 24, 2018, Mr. Beryl had not

25 provided a detailed 2018 business plan for Earnest LLC.
26          9.      Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

27 constituted a willful and continuing failure to substantially perform his duties and responsibilities
28 as Chief Executive Officer of Earnest LLC and that such actions were not curable.


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 1          10.    Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

 2 constituted misconduct under the terms of the Severance Plan.
 3          11.    Navient Corp.’s contention that it had cause to terminate Mr. Beryl’s employment

 4 as the phrase “for cause” is defined by the Parties’ agreements.
 5          12.    Mr. Beryl’s contention that he appealed the Severance Plan’s denial of his claim on

 6 August 3, 2018.
 7          13.    Mr. Beryl’s contention that Navient Corp. and the Severance Plan never responded

 8 to Mr. Beryl’s appeal of the decision to deny him benefits under the Severance Plan.
 9          14.    Navient Corp.’s contention that surveys and interviews of Earnest LLC’s

10 employees indicated dissatisfaction, disengagement and a lack of confidence in Mr. Beryl’s
11 leadership.
12                                 Count Three - Breach of Contract

13          1.     Mr. Beryl’s contention that, after execution of the Employment Agreement,

14 Mr. Beryl and Navient Corp. agreed that Mr. Beryl’s base salary would be increased to $400,000
15 per year.
16          2.     Mr. Beryl’s contention that, in December 2017, the Parties renegotiated the equity

17 grant and Navient Corp. promised Mr. Beryl that he would receive an additional $875,000 worth
18 of Navient Restricted Stock Units.
19          3.     Mr. Beryl’s contention that, at the time of his termination, he had 1,400,000

20 outstanding PCU’s per the terms of his Employment Agreement.
21          4.     Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Agreement

22 and Plan of Merger by and among E Parent, Inc.; Elephant Merger Sub, Inc.; Navient Corporation;
23 Earnest Inc.; and Shareholder Representative Services LLC.
24          5.     Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Earnest LLC

25 Limited Liability Company Agreement.
26          6.     Navient Corp.’s contention that Mr. Beryl agreed to the terms of his October 4,

27 2017, Offer Letter.
28          7.     Navient Corp.’s contention that Mr. Beryl spent significant time, including the time


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 1 of others, and resources attempting to negotiate his personal compensation and the financial
 2 targets established for Earnest LLC.
 3          8.      Navient Corp.’s contention that Mr. Beryl repeatedly missed deadlines for

 4 providing a detailed 2018 business plan for Earnest LLC.
 5          9.      Navient Corp.’s contention that the proposed 2018 business plans for Earnest LLC

 6 that Mr. Beryl submitted in December 2018 contained targets for the company that were
 7 materially different from the targets previously agreed to as part of the acquisition of Earnest Inc.
 8 by Navient Corp.
 9          10.     Navient Corp.’s contention that, as of January 24, 2018, Mr. Beryl had not

10 provided a detailed 2018 business plan for Earnest LLC.
11          11.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

12 constituted a willful and continuing failure to substantially perform his duties and responsibilities
13 as Chief Executive Officer of Earnest LLC and that such actions were not curable.
14          12.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

15 constituted misconduct under the terms of the Severance Plan.
16          13.     Navient Corp.’s contention that it had cause to terminate Mr. Beryl’s employment

17 as the phrase “for cause” is defined by the Parties’ agreements.
18          14.     Navient Corp.’s contention that surveys and interviews of Earnest LLC’s

19 employees indicated dissatisfaction, disengagement and a lack of confidence in Mr. Beryl’s
20 leadership.
21          15.     Navient Corp.’s contention that Mr. Beryl is misreading and misapplying the terms

22 of the Earnest Long-Term Incentive Plan regarding the granting and vesting of Performance Cash
23 Units.
24                    Count Four - Violation of California Labor Code Section 204

25          1.      Mr. Beryl’s contention that, after execution of the Employment Agreement,

26 Mr. Beryl and Navient Corp. agreed that Mr. Beryl’s base salary would be increased to $400,000
27 per year.
28          2.      Mr. Beryl’s contention that, in December 2017, the Parties renegotiated the equity


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 1 grant and Navient Corp. promised Mr. Beryl that he would receive an additional $875,000 worth
 2 of Navient Restricted Stock Units.
 3          3.      Mr. Beryl’s contention that, at the time of his termination, he had 1,400,000

 4 outstanding PCU’s per the terms of his Employment Agreement.
 5          4.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Agreement

 6 and Plan of Merger by and among E Parent, Inc.; Elephant Merger Sub, Inc.; Navient Corporation;
 7 Earnest Inc.; and Shareholder Representative Services LLC.
 8          5.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Earnest LLC

 9 Limited Liability Company Agreement.
10          6.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of his October 4,

11 2017, Offer Letter.
12          7.      Navient Corp.’s contention that Mr. Beryl spent significant time, including the time

13 of others, and resources attempting to negotiate his personal compensation and the financial
14 targets established for Earnest LLC.
15          8.      Navient Corp.’s contention that Mr. Beryl repeatedly missed deadlines for

16 providing a detailed 2018 business plan for Earnest LLC.
17          9.      Navient Corp.’s contention that the proposed 2018 business plans for Earnest LLC

18 that Mr. Beryl submitted in December 2018 contained targets for the company that were
19 materially different from the targets previously agreed to as part of the acquisition of Earnest Inc.
20 by Navient Corp.
21          10.     Navient Corp.’s contention that, as of January 24, 2018, Mr. Beryl had not

22 provided a detailed 2018 business plan for Earnest LLC.
23          11.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

24 constituted a willful and continuing failure to substantially perform his duties and responsibilities
25 as Chief Executive Officer of Earnest LLC and that such actions were not curable.
26          12.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

27 constituted misconduct under the terms of the Severance Plan.
28          13.     Navient Corp.’s contention that it had cause to terminate Mr. Beryl’s employment


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 1 as the phrase “for cause” is defined by the Parties’ agreements.
 2          14.      Navient Corp.’s contention that surveys and interviews of Earnest LLC’s

 3 employees indicated dissatisfaction, disengagement and a lack of confidence in Mr. Beryl’s
 4 leadership.
 5          15.      Navient Corp.’s contention that Mr. Beryl is misreading and misapplying the terms

 6 of the Earnest Long-Term Incentive Plan regarding the granting and vesting of Performance Cash
 7 Units.
 8                County Five - Penalties pursuant to California Labor Code Section 203

 9          1.       Mr. Beryl’s contention that, after execution of the Employment Agreement,

10 Mr. Beryl and Navient Corp. agreed that Mr. Beryl’s base salary would be increased to $400,000
11 per year.
12          2.       Mr. Beryl’s contention that, in December 2017, the Parties renegotiated the equity

13 grant and Navient Corp. promised Mr. Beryl that he would receive an additional $875,000 worth
14 of Navient Restricted Stock Units.
15          3.       Mr. Beryl’s contention that, at the time of his termination, he had 1,400,000

16 outstanding PCU’s per the terms of his Employment Agreement.
17          4.       Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Agreement

18 and Plan of Merger by and among E Parent, Inc.; Elephant Merger Sub, Inc.; Navient Corporation;
19 Earnest Inc.; and Shareholder Representative Services LLC.
20          5.       Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Earnest LLC

21 Limited Liability Company Agreement.
22          6.       Navient Corp.’s contention that Mr. Beryl agreed to the terms of his October 4,

23 2017, Offer Letter.
24          7.       Navient Corp.’s contention that Mr. Beryl spent significant time, including the time

25 of others, and resources attempting to negotiate his personal compensation and the financial
26 targets established for Earnest LLC.
27          8.       Navient Corp.’s contention that Mr. Beryl repeatedly missed deadlines for

28 providing a detailed 2018 business plan for Earnest LLC.


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 1          9.      Navient Corp.’s contention that the proposed 2018 business plans for Earnest LLC

 2 that Mr. Beryl submitted in December 2018 contained targets for the company that were
 3 materially different from the targets previously agreed to as part of the acquisition of Earnest Inc.
 4 by Navient Corp.
 5          10.     Navient Corp.’s contention that, as of January 24, 2018, Mr. Beryl had not

 6 provided a detailed 2018 business plan for Earnest LLC.
 7          11.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

 8 constituted a willful and continuing failure to substantially perform his duties and responsibilities
 9 as Chief Executive Officer of Earnest LLC and that such actions were not curable.
10          12.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest C.E.O. constituted

11 misconduct under the terms of the Severance Plan.
12          13.     Navient Corp.’s contention that it had cause to terminate Mr. Beryl’s employment

13 as the phrase “for cause” is defined by the Parties’ agreements.
14          14.     Navient Corp.’s contention that surveys and interviews of Earnest LLC’s

15 employees indicated dissatisfaction, disengagement and a lack of confidence in Mr. Beryl’s
16 leadership.
17          15.     Navient Corp.’s contention that Mr. Beryl is misreading and misapplying the terms

18 of the Earnest Long-Term Incentive Plan regarding the granting and vesting of Performance Cash
19 Units.
20                                         Count Five - Estoppel

21          1.      Mr. Beryl’s contention that, after execution of the Employment Agreement,

22 Mr. Beryl and Navient Corp. agreed that Mr. Beryl’s base salary would be increased to $400,000
23 per year.
24          2.      Mr. Beryl’s contention that, in December 2017, the Parties renegotiated the equity

25 grant and Navient Corp. promised Mr. Beryl that he would receive an additional $875,000 worth
26 of Navient Restricted Stock Units.
27          3.      Mr. Beryl’s contention that, at the time of his termination, he had 1,400,000

28 outstanding PCU’s per the terms of his Employment Agreement.


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 1          4.      Mr. Beryl’s contention that he reasonably relied to his detriment on any alleged

 2 promises by Navient Corp. or others.
 3          5.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Agreement

 4 and Plan of Merger by and among E Parent, Inc.; Elephant Merger Sub, Inc.; Navient Corporation;
 5 Earnest Inc.; and Shareholder Representative Services LLC.
 6          6.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of the Earnest LLC

 7 Limited Liability Company Agreement.
 8          7.      Navient Corp.’s contention that Mr. Beryl agreed to the terms of his October 4,

 9 2017, Offer Letter.
10          8.      Navient Corp.’s contention that Mr. Beryl spent significant time, including the time

11 of others, and resources attempting to negotiate his personal compensation and the financial
12 targets established for Earnest LLC.
13          9.      Navient Corp.’s contention that Mr. Beryl repeatedly missed deadlines for

14 providing a detailed 2018 business plan for Earnest LLC.
15          10.     Navient Corp.’s contention that the proposed 2018 business plans for Earnest LLC

16 that Mr. Beryl submitted in December 2018 contained targets for the company that were
17 materially different from the targets previously agreed to as part of the acquisition of Earnest Inc.
18 by Navient Corp.
19          11.     Navient Corp.’s contention that, as of January 24, 2018, Mr. Beryl had not

20 provided a detailed 2018 business plan for Earnest LLC.
21          12.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

22 constituted a willful and continuing failure to substantially perform his duties and responsibilities
23 as Chief Executive Officer of Earnest LLC and that such actions were not curable.
24          13.     Navient Corp.’s contention that Mr. Beryl’s actions as Earnest LLC’s C.E.O.

25 constituted misconduct under the terms of the Severance Plan.
26          14.     Navient Corp.’s contention that it had cause to terminate Mr. Beryl’s employment

27 as the phrase “for cause” is defined by the Parties’ agreements.
28          15.     Navient Corp.’s contention that surveys and interviews of Earnest LLC’s


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 1 employees indicated dissatisfaction, disengagement and a lack of confidence in Mr. Beryl’s
 2 leadership.
 3          16.     Navient Corp.’s contention that Mr. Beryl is misreading and misapplying the terms

 4 of the Earnest Long-Term Incentive Plan regarding the granting and vesting of Performance Cash
 5 Units.
 6          (e)     Each Disputed Legal Issue

 7          1.      Mr. Beryl contends that his challenge to the denial of his claim for benefits

 8 pursuant to the ERISA Severance Plan (Counts One and Two) should be determined by the Court
 9 de novo because “a plan administrator’s decision is entitled to deference only when the
10 administrator exercises discretion that the plan grants as a matter of contract.” Abatie v. Alta
11 Health & Life Ins. Co. (9th Cir.2006)458 F.3d 955, 963 (en banc); see also, Firestone Tire &
12 Rubber Co. v. Bruch (1989) 489 U.S. 101, 111
13          2.      Mr. Beryl contends that the Plan administrator’s decision should not be given

14 deference because the plan administrator in this case failed to consider and resolve his appeal.
15 Langlois v. Metropolitan Life Ins. Co., 833 F.Supp.2d 1182 (N.D. Cal. 2011) citing Gatti v.
16 Reliance Std. Life Ins. Co. (9th Cir.2005) 415 F.3d 978, 985. If a plan administrator does not even
17 consider a claimant’s appeal, the administrator has “has forfeited the privilege to apply his or her
18 discretion.” Id.
19          3.      Defendants contend that Mr. Beryl cannot seek equitable relief under ERISA

20 section 502(a)(3) because ERISA section 502(a)(1)(B) provides him with adequate relief (e.g., the
21 payment of benefits), making the relief requested in response to Mr. Beryl’s Count 2 duplicative
22 of, and not an alternative to, his request for relief in response to Count 1. Wise v. Verizon
23 Commc’ns, 600 F.2d 1180, 1190 (9th Cir. 2010); Johnson v. Buckley, 356 F.3d 1067, 1078 (9th Cir.
24 2004); Watkins v. Westinghouse Hanford Co., 12 F.3d 1517, 1528 n. 5 (9th Cir. 1993).
25          (f)     The Parties’ Stipulations

26          The Parties’ have not entered into any stipulations pertaining to the trial.

27          (g)     The Parties’ Estimates of Total Trial Time

28          Mr. Beryl provides the following time estimate for his Case in Chief:


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 1           Trial Activity                               Time Estimate

 2           Opening Statement                            30 minutes
 3           Beryl Testimony (w/cross)                    6 hours
 4           Brady Testimony (w/cross)                    1.5 hour
 5
             Hutchinson Testimony (w/cross)               2 hours
 6
             Deposition Designations                      1 hours
 7
             Total Estimate                               11 hours
 8
            Defendants provide the following time estimate for their defense:
 9
10           Trial Activity                               Time Estimate
11           Opening Statement                            30 minutes
12
             Remondi Testimony (w/cross)                  4 hours
13
             Hynes Testimony (w/cross)                    6 hours
14
             Smith Testimony (w/cross)                    2 hours
15
             Total Estimate                               12.5 hours
16
17
18          (h)    The Status of Settlement Negotiations

19          The Parties attended a mediation in December 2021 with the Honorable Ronald Sabraw of

20 JAMS. Since that time, they have continued to negotiate on a sporadic basis. The parties remain
21 open to settlement discussions and would welcome a court-sponsored settlement conference if that
22 possibility exits.
23 Dated: September 26, 2022                     VENTURA HERSEY & MULLER LLP

24
25                                       By:      /S/ Daniel J. Muller
                                                 DANIEL J. MULLER
                                                 Attorneys for Plaintiff Louis Beryl
26
27 [SIGNATURES CONTINUED ON NEXT PAGE]
28


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 1 Dated: September 26, 2022               JACKSON LEWIS P.C.

 2
 3                                 By:      /S/ Donald P. Sullivan
                                           DONALD P. SULLIVAN
 4                                         Attorneys for Defendants
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